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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JAMES R. CONKLIN,

                          Plaintiff,
                                                 21 Civ. 8486 (KPF) (JLC)
                   -v.-
                                                          ORDER
COMMISSIONER OF SOCIAL
SECURITY,

                          Defendant.

KATHERINE POLK FAILLA, District Judge:


      By Order today, the Court is referring this case to Magistrate Judge Cott

for a report and recommendation on any motion for judgment on the pleadings.

To conserve resources, to promote judicial efficiency, and in an effort to achieve

a faster disposition of this matter, it is hereby ORDERED that the parties must

discuss whether they are willing to consent, under 28 U.S.C. § 636(c), to

conducting all further proceedings before Magistrate Judge Cott.

      If both parties consent to proceed before the Magistrate Judge, counsel

for Defendant must, within two weeks of the date of this Order, either mail

or email to Failla_NYSDChambers@nysd.uscourts.gov a fully executed Notice,

Consent, and Reference of a Civil Action to a Magistrate Judge form, a copy of

which is attached to this Order (and also available at

http://nysd.uscourts.gov/file/forms/consent-to-proceed-before-us-magistrate-

judge). If the Court approves that form, all further proceedings will then be

conducted before Magistrate Judge Cott rather than before the undersigned.

      If either party does not consent to conducting all further proceedings
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before Magistrate Judge Cott, the parties must file a joint letter, within two

weeks of the date of this Order advising the Court that the parties do not

consent, but without disclosing the identity of the party or parties who do

not consent. There will be no adverse consequences if the parties do not

consent to proceed before the Magistrate Judge.

      SO ORDERED.

Dated:      December 7, 2021
            New York, New York
                                              __________________________________
                                                 KATHERINE POLK FAILLA
                                                United States District Judge




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